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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

PHILLIP MINK                                :         CASE NO. 1:21-CV-753
        PLAINTIFF,                          :         JUDGE COLE
VS.                                         :
THE CITY OF SHARONVILLE                     :
        DEFENDANT.                          :


               ANSWER OF DEFENDANT, THE CITY OF SHARONVILLE
                    TO PLAINTIFF’S AMENDED COMPLAINT
        Comes now Defendant, the City of Sharonville, by and through counsel, and for its Answer

to Plaintiff’s Amended Complaint states as follows:

                                     FIRST DEFENSE
   1. This Defendant denies the allegations in paragraph 1 of Plaintiff’s Amended Complaint.

   2. This Defendant denies the allegations in paragraph 2 of Plaintiff’s Amended Complaint for

        want of knowledge.

   3. This Defendant admits the City of Sharonville is a municipal corporation situated in

        Hamilton County, Ohio.

   4. This Defendant denies the allegations in paragraph 4 of Plaintiff’s Amended Complaint.

   5. This Defendant denies the allegations of conduct set forth in Plaintiff’s Amended

        Complaint and therefore denies the allegations in paragraph 5 of Plaintiff’s Amended

        Complaint.

   6. This Defendant denies the allegations in paragraph 6 of Plaintiff’s Amended Complaint for

        want of knowledge.




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7. This Defendant denies the allegations in paragraph 7 of Plaintiff’s Amended Complaint for

   want of knowledge.

8. This Defendant denies the allegations in paragraph 8 of Plaintiff’s Amended Complaint.

9. This Defendant denies the allegations in paragraph 9 of Plaintiff’s Amended Complaint.

10. This Defendant denies the allegations in paragraph 10 of Plaintiff’s Amended Complaint

   for want of knowledge.

11. This Defendant denies the allegations in paragraph 11 of Plaintiff’s Amended Complaint.

12. This Defendant denies the allegations in paragraph 12 of Plaintiff’s Amended Complaint.

13. This Defendant denies the allegations in paragraph 13 of Plaintiff’s Amended Complaint.

14. This Defendant denies the allegations in paragraph 14 of Plaintiff’s Amended Complaint.

15. This Defendant denies the allegations in paragraph 15 of Plaintiff’s Amended Complaint.

16. This Defendant denies the allegations in paragraph 16 of Plaintiff’s Amended Complaint.

17. This Defendant denies the allegations in paragraph 17 of Plaintiff’s Amended Complaint.

18. This Defendant denies the allegations in paragraph 18 of Plaintiff’s Amended Complaint.

19. This Defendant denies the allegations in paragraph 19 of Plaintiff’s Amended Complaint.

20. This Defendant denies the allegations in paragraph 20 of Plaintiff’s Amended Complaint.

21. This Defendant denies the allegations in paragraph 21 of Plaintiff’s Amended Complaint.

22. This Defendant denies the allegations in paragraph 22 of Plaintiff’s Amended Complaint.

23. This Defendant denies the allegations in paragraph 23 of Plaintiff’s Amended Complaint.

24. This Defendant denies the allegations in paragraph 24 of Plaintiff’s Amended Complaint.

25. This Defendant denies the allegations in paragraph 25 of Plaintiff’s Amended Complaint.

26. This Defendant denies the allegations in paragraph 26 of Plaintiff’s Amended Complaint.

27. This Defendant denies the allegations in paragraph 27 of Plaintiff’s Amended Complaint.



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28. This Defendant denies the allegations in paragraph 28 of Plaintiff’s Amended Complaint.

29. This Defendant denies the allegations in paragraph 29 of Plaintiff’s Amended Complaint.

                              ANSWER TO COUNT I
30. This Defendant incorporates herein by reference its responses to paragraphs 1 through 29

   of Plaintiff’s Amended Complaint as if fully rewritten.

31. This Defendant denies the allegations in paragraph 31 of Plaintiff’s Amended Complaint

   for want of knowledge.

32. This Defendant denies the allegations in paragraph 32 of Plaintiff’s Amended Complaint.

33. This Defendant denies the allegations in paragraph 33 of Plaintiff’s Amended Complaint.

34. This Defendant denies the allegations in paragraph 34 of Plaintiff’s Amended Complaint.

35. This Defendant admits the Sharonville City Council used video conference at times during

   the pandemic.

36. This Defendant denies the allegations in paragraph 36 of Plaintiff’s Amended Complaint.

37. This Defendant denies the allegations in paragraph 37 of Plaintiff’s Amended Complaint.

38. This Defendant denies the allegations in paragraph 38 of Plaintiff’s Amended Complaint.

39. This Defendant denies the allegations in paragraph 39 of Plaintiff’s Amended Complaint.

40. This Defendant denies the allegations in paragraph 40 of Plaintiff’s Amended Complaint.

41. This Defendant denies the allegations in paragraph 41 of Plaintiff’s Amended Complaint.

42. This Defendant denies the allegations in paragraph 42 of Plaintiff’s Amended Complaint.

43. This Defendant denies the allegations in paragraph 43 of Plaintiff’s Amended Complaint.

                              ANSWER TO COUNT II
44. This Defendant incorporates herein by reference its responses to paragraphs 1 through 43

   of Plaintiff’s Amended Complaint as if fully rewritten.

45. This Defendant denies the allegations in paragraph 45 of Plaintiff’s Amended Complaint.



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46. This Defendant denies the allegations in paragraph 46 of Plaintiff’s Amended Complaint.

47. This Defendant denies the allegations in paragraph 47 of Plaintiff’s Amended Complaint.

48. This Defendant denies the allegations in paragraph 48 of Plaintiff’s Amended Complaint.

49. This Defendant denies the allegations in paragraph 49 of Plaintiff’s Amended Complaint.

50. This Defendant denies the allegations in paragraph 50 of Plaintiff’s Amended Complaint.

51. This Defendant denies the allegations in paragraph 51 of Plaintiff’s Amended Complaint.

52. Further answering, this Defendant denies each and every allegation in Plaintiff’s Amended

   Complaint save such as those specifically admitted to be true.

                                SECOND DEFENSE
53. For its second and further defense herein, this Defendant states that the Complaint of

   Plaintiff fails to state a claim upon which relief can be granted.

                                    THIRD DEFENSE
54. For its third and further defense herein, this Defendant incorporates its responses as above

   set forth and further states Plaintiff lacks standing to assert all or some of the claims set

   forth in his Complaint.

                                    FOURTH DEFENSE
55. For its fourth and further defense herein, this Defendant incorporates its responses as above

   set forth and further states that all or part of Plaintiff’s claims are barred by the applicable

   statute of limitations.

                                     FIFTH DEFENSE
56. For its fifth and further defense herein, this Defendant incorporates its responses as above

   set forth and further states Plaintiff’s claims are barred by virtue of the doctrines of res

   judicata, collateral estoppel, claim preclusion and/or issue preclusion.

                                     SIXTH DEFENSE
57. For its sixth and further defense herein, this Defendant incorporates its responses as above

   set forth and further states it is entitled to immunity from all of Plaintiff’s claims and that

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   Plaintiff’s claims are subject to the immunities, defenses and limitations on damages set

   forth in Chapter 2744 of the Ohio Revised Code.

                                 SEVENTH DEFENSE
58. For its seventh and further defense herein, this Defendant incorporates its responses as

   above set forth and further states Plaintiff has failed to mitigate his damages.

                                    EIGHTH DEFENSE
59. For its eighth and further defense herein, this Defendant incorporates its responses as above

   set forth and further states that at all times pertinent it acted reasonably, in good faith, and

   in accordance with law and in the exercise of its statutory duties and responsibilities.

                                    NINTH DEFENSE
60. For its ninth and further defense herein, this Defendant incorporates its responses as above

   set forth and further states that Plaintiff has failed to exhaust all requisite administrative

   remedies prior to the filing of this action.

                                    TENTH DEFENSE
61. For its tenth and further defense herein, this Defendant incorporates its responses as above

   set forth and further states that all of the actions taken by the City of Sharonville, were

   based upon legitimate non-discriminatory reasons that were not pretextual in any manner.

                                ELEVENTH DEFENSE
62. For its eleventh and further defense herein, this Defendant incorporates its responses as

   above set forth and further states that if Plaintiff requested an accommodation, such

   accommodation was not reasonable.

                              TWELFTH DEFENSE
63. For its twelfth and further defense herein, this Defendant incorporates its responses as

   above set forth and further states that it is entitled to all the defenses and caps on damages

   contained within Chapter 4112 of the Ohio Revised Code, Title VII, and the ADA.

                               THIRTEENTH DEFENSE



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   64. For its thirteenth and further defense herein, this Defendant gives notice that it intends to

       assert and rely upon all affirmative defenses, immunities, avoidances, counter-claims,

       cross-claims and third-party claims which become available or apparent during the course

       of discovery or trial, and it hereby reserves the right to amend this Answer to assert such

       defenses.

       WHEREFORE, having fully answered, Defendant, the City of Sharonville, prays that the
Amended Complaint of Plaintiff be dismissed at his costs and that he take nothing thereby.


                                             Respectfully submitted,
                                             __/s/ Lawrence E. Barbiere__________
                                             Lawrence E. Barbiere (0027106)
                                             Katherine L. Barbiere (0089501)
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                                             kbarbiere@smbplaw.cm
                                             Attorneys for Defendant


                                CERTIFICATE OF SERVICE
        I hereby certify that on this 20th day of January, 2022, a true and correct copy of the
foregoing was filed using the Clerk of Court’s CM/ECF electronic filing system which will send
notice of such filing to all parties of record.


                                             __/s/ Lawrence E. Barbiere__________
                                             Lawrence E. Barbiere (0027106)




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